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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA




                                                            JUDGMENT IN A CIVIL CASE

WAJIH AJIB,

                                                          CASE NO: 1:13−CV−01451−LJO−SAB
                     v.

FINANCIAL ASSISTANCE, INC., ET AL.,




XX −− Decision by the Court. This action came to trial or hearing before the Court. The issues
    have been tried or heard and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED

         THAT JUDGMENT IS HEREBY ENTERED IN ACCORDANCE WITH THE
         COURT'S ORDER FILED ON 1/3/2014




                                                      Marianne Matherly
                                                      Clerk of Court


    ENTERED: January 3, 2014


                                      by: /s/ A. Jessen
                                                           Deputy Clerk
